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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


JOSE MARIA DECASTRO,                                               Case No. 1:22-cv-204

              Plaintiff,                                           Barrett, J.
                                                                   Bowman, M.J.
       v.


PAM WAGNER, et al.,

              Defendants.


                           MEMORANDUM OPINION AND ORDER

       Pursuant to local practice, all non-dispositive motions in this pro se civil rights case

have been referred to the undersigned. In addition to two dispositive motions filed by

Defendants, Plaintiff has filed a non-dispositive motion that seeks a protective order from

discovery requests propounded by Defendants. For the reasons below, Plaintiff’s motion

is DENIED.

       I.     Background

       On April 13, 2022, Plaintiff Jose Maria Decastro, a resident of California, paid the

filing fee and initiated this civil rights action against multiple Defendants, including the City

of Ironton Chief of Police and four individuals, and a “Jane Doe” employee. Plaintiff also

named the City of Ironton itself and Lawrence County as Defendants. Two groups of

Defendants (hereafter the “County Defendants” and “City Defendants”) filed separate

motions to dismiss and for judgment on the pleadings. (Docs. 8, 15). When Plaintiff failed

to timely respond to either of those motions, the Court filed Orders to Show Cause with

deadlines of July 22 and August 11, 2022, respectively. (Docs. 16, 17). Plaintiff did not


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respond to the first Show Cause Order but responded to the second on the deadline of

August 11, 2022. In his response, he states that before July 27, he received nothing from

either this Court or the Defendants even though his postal address has remained the

same throughout this case.1 (Doc. 18). The Court accepted the response in satisfaction

of both “Show Cause” Orders and permitted Plaintiff another thirty days, until September

15, 2022, to either respond to the pending motions or file an amended complaint.

       On that deadline, Plaintiff filed an amended complaint that appears to narrow the

list of Defendants by eliminating claims against all three County Defendants including

Lawrence County, Major Chapman, and Jane Doe, as well as one of the City Defendants

(the City of Ironton). In his amended complaint, Plaintiff alleges that he is “a videographer,

vlogger, and civil rights activist[] who has been video recording, publishing his recordings,

edited and unedited, on media forums such as YouTube, Facebook, Instagram and the

like since approximately 2020.” (Doc. 20 ¶9). Plaintiff generally alleges that Defendants

violated his First, Fourth, and Fourteenth Amendment rights under 42 U.S.C. §1983,

beginning with an incident on Tuesday, March 29, 2022, when Plaintiff was arrested by

four officers at the Ironton City Hall. (Id. ¶¶10-14). Plaintiff alleges that the arrest was

unlawful and that Defendants improperly demanded his social security number, and

unlawfully seized and damaged his personal property. Plaintiff states that the criminal

case “related to the unlawful arrest is still ongoing.” (Id. ¶24). His amended complaint

seeks punitive and exemplary damages for $1 million dollars against all named

Defendants jointly and severally.




1
The first Order to Show Cause was mailed on June 29, 2022, and the second Order to Show Cause was
mailed on July 21, 2022. No mail has ever been returned to this Court as undeliverable.

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        On September 22 and 29, 2022, Defendants filed new motions to dismiss and for

judgment on the pleadings in response to the amended complaint.2 (Docs. 21, 23). When

Plaintiff again failed to timely respond, the Court again entered two Orders to Show

Cause, listing deadlines of November 17 and November 30, 2022. After Plaintiff failed to

respond to either Order, on December 6, 2022, the Court terminated this case and

entered judgment for all Defendants. (Docs. 27, 28).

        The next day on December 7, 2022, Plaintiff moved for leave of Court to further

extend his time to respond to the motion for judgment on the pleadings, citing excusable

neglect and asserting that he had “not received 2 of the 3 Orders to Show Cause, which

resulted in delayed responses,” and incorrectly claiming that he had attempted to respond

“on Monday December 5th, which is within the deadline for responding.” 3 (Doc. 29 at 3,

PageID 230). Both City and County Defendants strongly opposed Plaintiff’s motion to

extend time and implicit request to reopen this case, noting the large number of

documents that they have served Plaintiff with at the address listed of record (and

simultaneously served via email by the City). Counsel for the City Defendants also filed

an affidavit confirming that no return mail has ever been received.4 (See Doc. 30-3, see


2
  The County Defendants’ motion to dismiss is based upon the premise that Plaintiff’s amended complaint
eliminates nearly all references to the allegations and claims originally included by Plaintiff against those
Defendants, but for a brief reference to Major Chapman. Plaintiff’s response in opposition purports to be
“responsive to” the motion to dismiss, (see Doc. 32 at 2), but does not directly contest the County
Defendants’ argument that his amended complaint implicitly dismisses them. By filing a response in
opposition that fails to clarify any intention to dismiss the County Defendants, and by filing and briefing the
instant discovery-related motion against the same Defendants, Plaintiff persists in driving up the County’s
litigation costs. Without prejudging the merits of the County Defendants’ pending dispositive motion, Plaintiff
is forewarned that when appropriate, pro se litigants may be sanctioned for frivolous litigation under Rule
11, Fed. R. Civ. P.
3
  Contrary to Plaintiff’s assertion, there have been 4 Orders to Show Cause issued. And the deadline for the
single “Show Cause” order for which he admits receipt was November 30, 2022, not December 5, 2022.
4
  As previously noted and consistent with Defendants’ representations, no mail has ever been returned to
this Court, proving valid delivery by the U.S. Post Office. At any rate, whatever issues Plaintiff allegedly
experienced with prior service presumably have been fully resolved by this Court’s April 11, 2023 grant of
his request for electronic case filing rights. (Docs. 37, 38).

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also generally, Docs. 30, 31). Both City and County Defendants cited to well-established

case law holding that a litigant’s pro se status does not excuse his compliance with

deadlines, and noted that this case has been much delayed by Plaintiff’s conduct,

suggestive of gamesmanship. (Docs. 30-31). But giving Plaintiff the benefit of the doubt,

the Court vacated its judgment and granted him an extension of time to respond to

Defendants’ pending dispositive motions. (Docs. 30, 31, and Notation Order of

1/13/2023). Plaintiff then waited until the extended deadline of January 13, 2023 to file

his joint response in opposition to those motions.5 (Doc. 32).

        Defendants’ dispositive motions remain pending before the presiding district judge.

However, on May 15, 2023, Plaintiff filed a non-dispositive motion for a protective order

that has been referred to this magistrate judge. (Doc. 39). On May 22, 2023 and on May

25, 2023, the City and County Defendants filed responses in opposition to Plaintiff’s

motion, to which Plaintiff has filed separate replies. (Docs. 40, 42, 43, 44). For the reasons

below, Plaintiff’s motion is DENIED.

        II.     Analysis of Plaintiff’s Motion for Protective Order

        Federal Civil Rule 26(c) governs protective orders and grants discretion to the

Court to fashion discovery in a manner “to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense….” Fed. R. Civ. P 26(c).

Plaintiff seeks a protective order “to stop Defendants from participating in premature

discovery that violates the Federal Rules of Civil Procedure, in order to harass and or




5
  Plaintiff’s December 7, 2022 motion for an extension of time had attached a copy of what looks like the
same response in opposition, (see Doc. 29-1), but the Court’s order granting his motion for an extension of
time did not direct the filing of the response at that time.
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unnecessarily burden Plaintiff, to keep personal information confidential, and any other

relief that this Court deems proper.” (Doc. 39 at 1).

        Plaintiff states that on March 8, 2023, County Defendants Chapman, Lawrence

County, and Jane Doe initially emailed written discovery requests. Plaintiff responded by

objecting mainly on procedural grounds6 and immediately threatening sanctions:

        [D]id you mean to send me interrogatories (especially these ones)? Sending
        interrogatories without leave of the court before the 26(f) meeting is
        improper, and these questions are mostly requesting things that will be in
        my initial disclosures or for things wholly inappropriate, especially given my
        claims. Should I disregard these, or is there any reason why I shouldn't file
        a motion for sanctions? I'm considering doing exactly that. Were you
        unaware that you're out of bounds?

(Doc. 40-1, PageID 496).

        The County Defendants promptly responded, acknowledging the procedural error

and instructing Plaintiff to disregard the requests:

        I was mistaken in my belief that a rule 26(f) report was completed in this
        case. After reviewing the docket, I realize that it has not been completed.
        Please disregard the first set of written discovery that I’ve sent. I will send it
        to you once more when the rule 26(f) report is filed.

(Id.)

        On April 11, 2023, Plaintiff received a similar set of written requests from City

Defendants Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan McNight, Robert

Fouch and/or the City of Ironton by mail.7 Plaintiff states that he found the City

Defendants’ requests to be less substantively objectionable, but still objected because

they were served before a Rule 26(f) meeting. Rather than communicating that objection,




Along with objecting on grounds that no discovery can occur before the Rule 26(f) meeting, (see Doc. 39
at 2), Plaintiff’s motion complains that the requests were improperly served by email even though the email
states that another copy is being served by mail.
7
 As stated, the amended complaint appears to eliminate the City of Ironton as a named defendant.

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however, he “decided not to respond at all, because it wasn’t worth typing up a reply

letter.” (Doc. 39 at 2, PageID 409). Defense counsel politely contacted Plaintiff more than

a month later to ask about the lack of responses: “[C]an you please advise on the status

of your discovery responses and when we can expect your responses?” As with the

County Defendants, Plaintiff immediately replied with a threat of sanctions. The tone of

Plaintiff’s email speaks for itself:

       My God – The ineptitude is staggering. You won the DunceCap of the Day
       award. They're not getting away with it. ESPECIALLY with lawyers like you.
       You are going to make sure that they won't get away with wrongfully
       arresting me.

       Did you mean to send me interrogatories (especially these ones)? Sending
       interrogatories without leave of the court before the 26(f) conference is
       improper, and these questions are mostly requesting things that will be in
       my initial disclosures or for things wholly inappropriate, especially given my
       claims. Should I disregard these, or is there any reason why I shouldn't file
       a motion for sanctions?

       I think I'm gonna file a motion for sanctions. I won't rest until my good name
       is cleared.

(Doc. 42-1 at 1-2, PageID 527-528).

       Remaining professional, on May 9, 2023 defense counsel asked Plaintiff for times

that would work and a valid phone number to meet and confer regarding a Rule 26(f)

discovery plan:

       We are happy to schedule a Rule 26(f) conference. Please provide us with
       times in the next two weeks that work for you and a phone number to reach
       you and we can confer regarding a discovery plan. Attached is Judge
       Barrett’s Discovery Plan form that we can discuss. If you prefer to exchange
       suggestions on the Discovery Plan via email, let us know. Thank you.

(Id. at 1, PageID 527; see also Doc. 39 at 3). Plaintiff again chose not to respond, instead

moving for a protective order six days later. In his motion, he argues that courts have the

authority to stay discovery while dispositive motions are pending. (Doc. 39 at 4, PageID


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471). Based on that authority, Plaintiff asserts that “there will be no Rule 26(f) meeting

until after the dispositive motions are decided.” (Doc. 39 at 4). Yet Plaintiff has never

sought a stay in this case, which has now been pending for more than a year without a

preliminary Rule 26(f) meeting.8

        Plaintiff’s motion is denied first because it is moot. Once alerted to Plaintiff’s

procedural objection to participating in discovery prior to a Rule 26(f) conference, counsel

for both City and County Defendants made clear that they agreed that no responses to

the requests would be required before that conference. Counsel for the County

Defendants explicitly told Plaintiff to “disregard the first set of written discovery that [was]

sent” because it will be sent again “when the rule 26(f) report is filed.” (Doc. 40-1). Counsel

for the City Defendants responded to Plaintiff’s pejorative email by requesting Plaintiff’s

telephone number and dates and times for a Rule 26(f) conference so that discovery

proceed - a request that Plaintiff flatly ignored.

        Plaintiff’s reprehensible conduct provides the second basis for denying his motion.

Under the Federal Rules of Civil Procedure, a motion for a protective order must include

“a certification that the movant has in good faith conferred or attempted to confer with

other affected parties in an effort to resolve the dispute without court action.” Fed. R. Civ.

P. 26(c)(1). Plaintiff’s motion contains a rote statement that he “attempted in good faith

to confer with Defendants’ counsel to resolve this dispute but has been unsuccessful.”

(Doc. 39, emphasis added). Based on the record, that statement is patently false.




8
 In one of his reply memoranda, Plaintiff asserts that he “is willing to participate in this action,” but that
“[s]cheduling a Rule 26(f) meeting prior to the pending motions being resolved would be wasteful.” (Doc.
44 at 2, PageID 536). Ironically, he accuses Defendants of “gameplaying, or of sheer incompetence.” (Id.)

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      Along with the referenced Federal Rule of Civil Procedure, the Southern District of

Ohio has published Local Rules. S.D. Ohio Civ. R. 37.1, entitled “Consultation Among

Counsel; Informal Discovery Dispute Conference,” provides:

      Objections, motions, applications, and requests relating to discovery shall
      not be filed in this Court under any provision in Fed. R. Civ. P. 26 or 37
      unless the parties have first exhausted among themselves all
      extrajudicial means for resolving their differences. After extrajudicial
      means for the resolution of differences about discovery have been
      exhausted, in lieu of immediately filing a motion under Fed. R. Civ. P. 26 or
      37, any party may first seek an informal telephone conference with the
      Judge assigned to supervise discovery in the case.

Id. (emphasis added).

      Last but not least, U.S. District Court Judge Michael R. Barrett presides over this

civil action, with non-dispositive matters referred to the undersigned magistrate judge.

Section D of Judge Barrett’s Standing Order regarding discovery motions states:

      THIS COURT DOES NOT PERMIT DISCOVERY MOTIONS, i.e. motions
      to compel or motions for protective order regarding discovery disputes,
      unless and until counsel use the following procedure: Counsel must first
      attempt to resolve disputes by extrajudicial means (required by S.D. Ohio
      Civ. R. 37.1 * * *). This Court defines [extrajudicial means] as requiring
      counsel to try to resolve the matter both in writing and telephonically.
      If counsel are unable to resolve the dispute between themselves, then they
      must contact the Court’s Courtroom Deputy, Krista Zeller * * *, and a
      telephone conference with all counsel and the Court will be scheduled as
      soon as possible.

Id. (emphasis added). The undersigned’s Standing Order similarly states that this Court

“does not allow motions relating to discovery until an informal discovery conference…is

held.” An informal discovery conference with the Court may be scheduled only after the

parties have exhausted “all extrajudicial means of resolving” their dispute. See Bowman

General Standing Order on Civil Procedures (emphasis added). The undersigned’s

Standing Order applies to cases referred under 28 U.S.C. § 636(b) as well as to cases in



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which the parties have consented to final judgment by a magistrate judge under 28 U.S.C.

§ 636(c). When a presiding district judge’s procedures differ in a case referred under

§636(b), the parties must comply with the district judge’s procedures. See Bowman

General Standing Order, n.1.

        Plaintiff’s conduct here violates Federal Rule of Civil Procedure 26(c), S.D. Ohio

Rule 37.1,9 and the Standing Orders of both the presiding district judge and the presiding

magistrate judge. Plaintiff’s initial response to the County’s discovery requests focused

less on dispute resolution than on his threat to move for sanctions. After the County’s

counsel responsibly acknowledged the procedural error, directing Plaintiff to disregard

the first set of written discovery requests until after the Rule 26(f) conference, no dispute

remained. It also remains unclear whether Plaintiff’s amended complaint continues to

seek liability against the County Defendants. In any event, Plaintiff made no further

attempt to communicate with opposing counsel for the County Defendants before filing

his motion.

        Plaintiff’s failure to communicate with counsel for the City Defendants is even more

egregious. After receiving discovery requests from that group of Defendants, Plaintiff

admits he “did not bother to respond” at all. When counsel eventually asked about what

they perceived to be overdue responses, Plaintiff attacked with a pejorative and extremely

uncivil email in which he again threatened sanctions. He ignored counsel’s reasonable

follow-up request to provide a telephone number,10 or dates and times for a Rule 26(f)


9
 In addition to Local Civil Rule 37.1, Plaintiff would be well-advised to review the “Introductory Statement
on Civility” in the Local Rules, endorsed by all Judges of this District, that “emphasize[s]… the ideals that
ought to guide behavior for all those appearing in the Southern District of Ohio.” Those ideals include but
are not limited to the concept that “[e]very lawyer, litigant, and Judge is entitled to expect, and should be
accorded, the courtesy and respect described in this Statement.”
10
  Plaintiff listed a telephone number of 310-963-2445 in his request for electronic filing rights. It remains
Plaintiff’s obligation to keep his telephone number and address updated with this Court.

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meeting so that this case might proceed. Rather than notifying counsel of any remaining

dispute (again, there is none), he moved for a protective order. And despite seeking a

protective order on grounds that the discovery requests are duplicative of information to

be provided in his initial disclosures, Plaintiff refuses to participate in a Rule 26(f)

conference or to provide those initial disclosures. (See Doc. 42 at 5, n.4, PageID 519).

        In his reply memoranda, Plaintiff maintains that he was “unaware” of the Court’s

Standing Orders and offers a cursory “apology.” (See Doc. 44 at 3, PageID 537).11 He

then blames Defendants for their alleged failure to “request a meeting with the Court’s

Courtroom deputy” in compliance with the Standing Orders. (Id.) He suggests that this

Court should overrule Defendants’ objections as “moot” based on that alleged non-

compliance. But as the party requesting a protective order, it was Plaintiff who had the

obligation to contact the Court before filing any discovery-related motion. And to be clear,

Plaintiff had no right whatsoever to contact this Court prior to fully exhausting all

extrajudicial efforts to resolve his dispute in good faith, meaning that he must

communicate more than once in writing with opposing counsel about the details of any

dispute and pick up the telephone if he cannot resolve the issue through written

communications.

        Based on Plaintiff’s course of conduct to date, he will be ordered to immediately

contact defense counsel for both City and County Defendants in writing to provide dates

and times for a Rule 26(f) telephonic conference. If all parties agree to delay the exchange

of initial disclosures under Rule 26(a), or if they wish to delay substantive discovery until


11
  Ignorance is no defense. To benefit pro se litigants, this Court has published a “pro se handbook” that
specifically warns pro se litigants that they must comply with all applicable rules and procedures, including
the Federal Rules of Civil Procedure, the Local Rules, the Court’s General Orders, and judges’ individual
procedures (available under the individual judge’s name in the “Judges” tab).

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the presiding district judge rules on the pending dispositive motions, they may express

that agreement in their jointly filed report. That said, the parties are not excused from their

obligation to meet and confer and to file a Rule 26(f) report.

       As a third basis for denying Plaintiff’s motion, both City and County Defendants

argue that the disputed discovery requests are well within the scope of permissible

discovery in this case, and on their face do not support a protective order. See Rule 26(c).

Too much of the Court’s time has been spent in reviewing the record and Plaintiff’s

improperly filed motion. Because no written discovery requests are pending and Plaintiff’s

motion is denied on procedural grounds, the undersigned declines to reach the merits of

the motion for protective order.

       III.      Conclusion and Order

       Accordingly, IT IS ORDERED:

       1. Plaintiff’s motion for a protective order (Doc. 39) is DENIED;

       2. Plaintiff is forewarned that pro se litigants are not excused from complying with

              all applicable civil rules of procedure and all Orders of this Court, including

              Standing Orders. Should Plaintiff file an improper discovery motion or fail to

              fully comply with the same civil rules and procedures in the future, he may be

              subject to sanctions;

       3. Based on the age of this case, the parties are directed to file their joint Rule

              26(f) report not later than fourteen (14) days from the date of this Order;

       4. Within three (3) days of the date of this Order, Plaintiff must contact all defense

              counsel in writing via email and list not fewer than four (4) times on weekdays

              during which Plaintiff is available to meet and confer telephonically for a Rule



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          26(f) conference. The referenced dates must allow sufficient time for

          compliance with paragraph 3 of this Order, and any specified times must fall

          between the hours of 9 a.m. and 5 p.m. Eastern Standard Time.



                                                    s/Stephanie K. Bowman_______
                                                    Stephanie K. Bowman
                                                    United States Magistrate Judge




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